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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

 W.K., E.H., M.M., R.P., M.B., D.P., A.F.,
 C.A., R.K., K.P., and T.H.,

        Plaintiffs,
                                             CIVIL ACTION FILE
 v.
                                             NO. 1:20-cv-5263-MHC
 RED ROOF INNS, INC., FMW RRI NC,
 LLC, RED ROOF FRANCHISING, LLC,
                                             JURY TRIAL DEMANDED
 RRI WEST MANAGEMENT, LLC,
 VARAHI HOTEL, LLC, WESTMONT
                                             Pursuant to Fed. R. Civ. P. 38
 HOSPITALITY GROUP, INC., and RRI
 III, LLC,

         Defendants.

 JANE DOE 1, et al.,

         Plaintiffs,                         CIVIL ACTION FILE

 v.                                          NO. 1:21-cv-4278-WMR

 WESTMONT HOSPITALITY GROUP,                 JURY TRIAL DEMANDED
 INC., et al.,
                                             Pursuant to Fed. R. Civ. P. 38
         Defendants.




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 JANE DOE 1,                                 CIVIL ACTION FILE

         Plaintiff,                          NO. 1:19-cv-3840-WMR

 v.                                          JURY TRIAL DEMANDED

 RED ROOF INNS, INC., et al.,                Pursuant to Fed. R. Civ. P. 38

         Defendants.

 JANE DOE 2,                                 CIVIL ACTION FILE

         Plaintiff,                          NO. 1:19-cv-3841-WMR

 v.                                          JURY TRIAL DEMANDED

 RED ROOF INNS, INC., et al.,                Pursuant to Fed. R. Civ. P. 38

         Defendants.

 JANE DOE 3,                                 CIVIL ACTION FILE

         Plaintiff,                          NO. 1:19-cv-3843-WMR

 v.                                          JURY TRIAL DEMANDED

 RED ROOF INNS, INC., et al.,                Pursuant to Fed. R. Civ. P. 38

         Defendants.




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 JANE DOE 4,                                  CIVIL ACTION FILE

         Plaintiff,                           NO. 1:19-cv-3845-WMR

 v.                                           JURY TRIAL DEMANDED

 RED ROOF INNS, INC., et al.,                 Pursuant to Fed. R. Civ. P. 38

         Defendants.


                        PLAINTIFFS’ NOTICE OF VIDEO
                      DEPOSITION OF MEGHAN HARRSCH

        PLEASE TAKE NOTICE that, pursuant to Federal Rules of Civil

Procedure 26 and 30, counsel for Plaintiffs will take the videotaped

deposition of Meghan Harrsch for purposes of discovery, cross-examination of

a witness and all other purposes allowable under the Federal Rules of Civil

Procedure on October 5, 2022, beginning at 8:00 a.m. E.D.T. at the offices of

Lewis Brisbois, Bisgaard & Smith LLP, 600 Peachtree Street, Suite

4700, Atlanta, Georgia 30308. The deposition shall be taken by a Certified

Court Reporter duly authorized by law to administer oaths, by stenographic

means, and will be recorded by stenographic means and may be recorded by

sound and/or sound and visual means.

        This deposition shall be used for all permissible purposes under the

Federal Rules of Civil Procedure and will be for the purposes of discovery, for


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use of evidence at trial, and for all other purposes and uses authorized by

law. The deposition shall continue from day to day until complete.

        Respectfully submitted this 3rd day of October, 2022.


                               /s/ Michael R. Baumrind
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                               Attorneys for Plaintiffs




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                         CERTIFICATE OF SERVICE

        I hereby certify that on the date set forth below, I caused a true and

correct copy of the foregoing PLAINTIFFS’ NOTICE OF VIDEO

DEPOSITION OF MEGHAN HARRSCH to be served upon all counsel of

record via automatic notice by electronic filing on the CM/ECF system and via

email (per agreement of counsel) on counsel of record as follows:

              Charles K. Reed, Esq.
              Adi Allushi, Esq.
              Lillian K. Henry, Esq.
              Emma J. Fennelly, Esq.
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        This 3rd day of October, 2022.

                                      /s/ Michael R. Baumrind
                                      Michael R. Baumrind

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                            Certificate of Service Page
